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                     United States Court of Appeals
                                      For the First Circuit
                                         _____________________


      No. 25-1495

          STATE OF NEW YORK; COMMONWEALTH OF MASSACHUSETTS; STATE OF
        HAWAII; STATE OF CALIFORNIA; STATE OF ARIZONA; STATE OF COLORADO;
       STATE OF CONNECTICUT; STATE OF DELAWARE; STATE OF ILLINOIS; STATE OF
         MAINE; STATE OF MARYLAND; STATE OF MINNESOTA; STATE OF NEVADA;
      STATE OF NEW JERSEY; STATE OF OREGON; STATE OF RHODE ISLAND; STATE OF
         WASHINGTON; STATE OF WISCONSIN; STATE OF VERMONT; DANA NESSEL,
        Attorney General for the People of Michigan; DISTRICT OF COLUMBIA; SOMERVILLE
      PUBLIC SCHOOLS; EASTHAMPTON PUBLIC SCHOOLS; AMERICAN FEDERATION OF
            TEACHERS; AMERICAN FEDERATION OF TEACHERS MASSACHUSETTS;
        AMERICAN FEDERATION OF STATE, COUNTY, AND MUNICIPAL EMPLOYEES,
       COUNCIL 93; AMERICAN ASSOCIATION OF UNIVERSITY PROFESSORS; SERVICE
                               EMPLOYEES INTERNATIONAL UNION,


                                           Plaintiffs - Appellees,

                                                     v.

       LINDA MARIE MCMAHON, in their official capacity as Secretary of the US Department of
        Education; DONALD J. TRUMP, President of the United States; US DEPARTMENT OF
                                       EDUCATION,

                                          Defendants - Appellants.
                                           __________________
                                           ORDER OF COURT

                                          Entered: May 23, 2025
                                       Pursuant to 1st Cir. R. 27.0(d)

             The court is in receipt of defendants-appellants’ Emergency Motion for Stay Pending
      Appeal and Immediate Administrative Stay. Plaintiffs-appellees shall file their response no later
      than 5:00 p.m. on Sunday, May 25, 2025.

                                                           By the Court:

                                                           Anastasia Dubrovsky, Clerk
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      cc:
      Katherine B. Dirks, Rabia Muqaddam, Nathaniel J. Hyman, Ester Murdukhayeva, Molly
      Thomas-Jensen, Matthew William Grieco, Jessica L. Palmer, Gina Bull, Anna Esther Lumelsky,
      Elizabeth C. Carnes Flynn, Yael Shavit, David Dana Day, Kalikoonalani Diara Fernandes,
      Caityn Babington Carpenter, Ewan Christopher Rayner, Lucia Choi, James Edward Stanley,
      Natasha Adriana Reyes, Panchalam Seshan Srividya, Clinten N. Garrett, David Moskowitz,
      Patrick Ring, Kathleen M. Roberts, Karyn L. Bass Ehler, Sean D. Magenis, Keith Jamieson,
      Elizabeth C. Kramer, Heidi Parry Stern, Amanda I. Morejon, Andrew Simon, Elleanor H. Chin,
      Kathryn Gradowski, Spencer Wade Coates, Cristina Sepe, Charlotte Gibson, Jonathan T. Rose,
      Donald Campbell Lockhart, Mark R. Freeman, Melissa N. Patterson, Steven A. Myers, Brad P.
      Rosenberg, Michael Benjamin Bruns, Neil Giovanatti, Kathleen Ann Halloran, Steve W.
      Berman, Raffi Melanson, Stephanie Verdoia, Abigail Pershing, Breanna Van Engelen, Dana A.
      Abelson, John Grant, Victoria S. Nugent, Rachel F. Homer, Elena Goldstein, Adnan Perwez,
      Kali J. Schellenberg, Will Bardwell
